                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE




 UNITED STATES OF AMERICA,                             )
                                                       )
 v.                                                    )      No. 3:09-CR-64
                                                       )      (Phillips)
 RONALD THOMPSON-BEY,                                  )


                                        ORDER



              There being no timely objection by defendant, see 28 U.S.C. § 636(b)(1), and

 the court being in complete agreement with the magistrate judge, the Report and

 Recommendation (“R&R”) [Doc. 174] filed by the Honorable H. Bruce Guyton, United

 States Magistrate Judge, on January 13, 2010, is hereby ACCEPTED IN WHOLE.

 Accordingly, defendant’s Motion to Dismiss the Indictment [Doc. 116] is DENIED.



              IT IS SO ORDERED.

                                         ENTER:


                                                s/ Thomas W. Phillips
                                              United States District Judge




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